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                 EXHIBIT
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From:                     Marzorati, Luca
To:                       Joe Akrotirianakis; Aaron Craig; Perez-Marques, Antonio J.
Cc:                       Block, Micah G.; Andres, Greg D.; EXT - Craig Cagney; Matt Noller; Matt Dawson
Subject:                  RE: NSO and "Reputational Damages"
Date:                     Wednesday, April 10, 2024 7:38:39 PM
Attachments:              image001.png


CAUTION: MAIL FROM OUTSIDE THE FIRM
Joe,

We have previously said we are not seeking to admit evidence of reputational harm or loss
of goodwill to obtain money damages, and we have now confirmed that we are also not
seeking to use such evidence to obtain equitable relief. Nor do we intend to use such
evidence to otherwise inject those issues into the litigation for any part of our case-in-chief.
If you have other specific issues in mind as to which harm to Plaintiffs’ reputation may be
relevant, we are happy to discuss those issues.

We reserve all rights in the event NSO makes some argument that in fairness requires us
to raise these issues in response, but we are not aware of any such issues at this time.

Thanks,
Luca
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Davis Polk & Wardwell LLP
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